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 7
                         UNITED STATES DISTRICT COURT
 8
                                EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                       Case No. 1:13-CR-0362 AWI-BAM

11                     Plaintiffs,                   ORDER ON DEFENDANT’S MOTION
                                                     FOR DISCOVERY OF 1099 OIDs (Doc.
12          v.                                       112)

13   GAYLENE LYNNETTE BOLANOS, et al.,

14                     Defendants.

15   _____________________________________/

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17         Defendant, Gaylene Lynnette Bolanos, is proceeding pro se in this criminal action

18 pursuant to Faretta v. California, 422 U.S. 806 (1975). On December 23, 2013, defendant filed a

19 “Motion/Request upon the clerk of the Court for certified copies of 1099 OIDs.” (Doc. 112.) This

20 Court set a hearing date and a briefing schedule on the motion. By opposition filed on January 10,

21 2014, the government opposed the motion. Defendant did not file a reply. The matter came on for

22 hearing on January 27, 2014. The government appeared by Assistant United States Attorney

23 Grant Rabenn. Defendant appeared pro se.

24         The government states that a diligent search for 1099 OIDs has been conducted, and those

25 documents found thus far have been produced. The government is further searching other data

26 bases which may reveal additional responsive documents. A search of other data bases is required
27 because documents the IRS considers “frivolous” are stored differently. The government indicates

28 that 1099 OIDs should be located and produced within three weeks.            At the hearing, the
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 1 government produced some discovery documents directly to defendant.

 2         Defendant does not dispute the scope of the government’s search, but objects to the delay
 3 and requests certified copies of the documents produced. She requests the Clerk of the Court to

 4 certify the documents.

 5         After considering the briefs and arguments of defendant and the government, the Court
 6 rules as follows. The Court finds that defendant’s motion is MOOT as the requested documents

 7 have been provided, will be produced shortly or produced when located. Should events in the

 8 future delay production or inspection of discovery, defendant may file a motion.

 9         The Court DENIES defendant’s request for certified copies of the documents. There is no
10 obligation under the applicable criminal procedure for the government to certify discovery

11 produced. The Court DENIES defendant’s request for the Clerk of the Court to certify the

12 documents because the documents are not generated by court personnel as an official act.

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     IT IS SO ORDERED.
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15      Dated:    January 28, 2014                         /s/ Barbara A. McAuliffe           _
                                                     UNITED STATES MAGISTRATE JUDGE
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